                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: Primary Providers of Alabama, Inc.       )           Case No.: 18-83207-CRJ-11
        EIN: xx-xxx9960                          )
                                                 )
                Debtor.                          )           CHAPTER 11


                                 CERTIFICATE OF SERVICE

        I hereby certify that I have served a copy of the Order Setting Deadline to File Chapter 11
 Plan and Disclosure Statement and Setting Bar Date for Filing Claims that was entered by the
 Court on December 6, 2018 upon the parties listed on the Clerk’s Certified Matrix, all parties
 requesting notice, and upon Richard M. Blythe, Bankruptcy Administrator, P.O. Box 3045,
 Decatur, AL 35602 by electronic service through the Court’s CM/ECF system and/or by
 depositing the same in the United States mail, postage prepaid, this the 7th day December, 2018.


                                                 /s/ Tazewell T. Shepard
                                                 Tazewell T. Shepard




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